Case 1:15-cr-00019-MAC-CLS           Document 523         Filed 08/13/15     Page 1 of 1 PageID #:
                                            1891

                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 V.                                                   §            CASE NO. 1:15-CR-19 (16)
                                                      §
 GERARDO CHAVEZ                                       §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the court accept the Defendant’s

 guilty plea and adjudge the Defendant guilty on Count One of the Indictment.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea agreement

 until after the presentence report has been reviewed. It is further ORDERED that, in accordance

 with the Defendant’s guilty plea and the magistrate judge’s findings and recommendation, the

 Defendant, Gerardo Chavez, is adjudged guilty as to Count One of the Indictment charging a

 violation of 21 U.S.C.§ 846.

        SIGNED this the 13 day of August, 2015.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge
